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     1 GARY GARCIA
     2 ~~OT~~~~~~ORTHDR. 20\4 JUL - \ PM tl: 09
     3 MUTTA, CA 92562 n US. OíST.RH~'f C9U~T " . _, _ .
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     4 PLAINTIFFS PRO SE - R\VEI',~ e. \ \ '1 ~-, - "3 -75' - \ ''\ \ (p
                                           BY: -- -------- -"...------ .
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                                   UNITED STATES DISTRICT COURT
     8
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
     9

    10
                                           EDCV14-01343 ) CASE      NO.:
         GARY M. GARCIA, an individual, and             )
    11 KRSTINA GARCIA, an individual,                   ) COMPLAINT FOR DAMAGES,
    12                                                  ) RESTITUTION, AND INJUNCTIVE
                     Plaintiffs,                        ) RELIEF
    13                                                  )
              vs.                                       )   1) Fair Debt Collection Practices Act
    14                                                  )   2) Violation of Rosenthal Fai r Debt
         OCWEN LOAN SERVICES, LLC, a foreign            ) 3) California Credit Reporting Agency
    15 limited liabilty company, and DOES 1 -100,            Act
                                                        )
    16 inclusive, .                                     ) 4) I ntentional I nfliction of Emotional
                                                        )        Distress
    17                                                  )   5) Injunctive Relief

                                                        )
    18                                                  ) JURY TRIAL DEMANDED
                                                        )
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    20                                                  )

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     1               COM ES NOW Plaintiffs, GARY GARCIA and KRSTINA GARCIA and for their

     2    Complaint against Defendant OCWEN LOAN SERVICING, LLC and complain and allege as

     3    follows:

     4                                                               i. TH E PARTI ES
     5               1. Plaintiffs Gary Garcia ("Gary") and Plaintiff Kristina Garcia ("Kristina") are

     6   individuals, and at all relevant times residents of                      the county of       Riverside.
     7              2. Plaintiffs are the sole owners of the residential real propert commonly known as

     8   23850 Hollngsworth Dr., Murrieta, California 92562 (hereinafter, "Subject Propert").
     9              3. Plaintiffs are informed and believes, and thereon alleges that Defendant OCWEN

    10   Loan Servicing, LLC (hereinafter "OCWEN"), is a foreign limited liabilty company organized
    11
         under the laws of the State of Delaware with its principal offce in the State of Florida and at all
    12
         relevant times, was doing business in Riverside County, and the State of California.
    13
                    4. Defendant DOES 1-100 are sued by their fictitious names pursuant to C.C.P. §
    14
         494. Their true names and capacities are unkown to Plaintiffs.
    15
                    5. Plaintiffs believe that each fictitiously named Defendant DOE 1-100 is a person or
    16
         entity who paricipated in, assisted, advised, was retained by, or counseled by one of the other
    17
         Defendant's herein in connection with the acts alleged herein of which Plaintiffs complain. Said
    18
         fictitiously named Defendants' were agents, servants, employees, alter egos, superiors, successors
    19
         in interest, joint ventures and/or co-conspirators of each of their co-defendants' and in doing the
    20
         things herein after mentioned, or acting within the course and scope of their authority of such
    21
         agents, servants employees, alter egos, superiors, successors in interest, joint ventues and/or co-
    22
         conspirators with the permission and consent of their co-defendants', and consequently, each
    23
         Defendant named herein, and those Defendants' named herein as DOES 1 through 100, inclusive,
    24
         are jointly and severally liable to Plaintiffs for the damages and harm sustained as a result of          their
    25
         wrongful conduct.
    26
                    6. Plaintiffs herein name as Defendants' DOES 1-100 in this action all unknown
    27
         persons claiming: a) any legal or equitable right, title, estate, lien, or interest in the Subject
    28


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     1   Propert described in the complaint adverse to Plaintiff s title; or b) any cloud on Plaintiffs title to

     2   the Subject Propert. The claims of each unknown Defendant and fictitiously named Defendant

     3   are without any right, and these Defendants have no right, title, estate, lien, or interest in the
     4   Subject Propert. Plaintiffs seek by way of this complaint to extinguish and eliminate each and

     5   every claim of right by fictitiously named DOES 1-100.
     6                                                II. JURISDICTION AND VENUE
     7              7. Subject-matter jurisdiction for this Court exists: pursuant to 28 U.S.C. Section

     8   1331, because this is an action brought by a consumer for violations of              the Fair Debt Collection
     9   Practices Act (hereinafter "FDCPA") (any reference to the FDCPA or any part thereof
    10   encompasses all relevant parts and subparts thereto) 15 U.S.C. § 1692 et seq.
    11
                    8. This Court has personal jurisdiction over Defendant because they specifically

    12
         engaged in conduct injurious to Plaintiffs who were located in the county of Riverside,

    13
         California, and Defendant did this with the full knowledge that Plaintiffs were and are in the
    14
         state of California and county of Riverside, California and that their actions would have an
    15
         effect in the county of Riverside, California, and that their actions would cause injury to
    16
         Plaintiffs in the state of California.
    17
                    9. Plaintiffs are residents of Riverside county, California. Plaintiffs home which is
    18
         the subject of this litigation, is in Riverside county, California, and Defendant regularly conduct
    19
         business in this district. Each Defendant is, upon information and belief, operates in California
    20
         and routinely does business in county of                    Riverside, California.
    21
                    10. Venue is proper in the United States District Court for the District of California
    22
         pursuant to U.S.C. Section 1391. Venue lies in the unoffcial Central Division of             this Court.
    23
                                                                    III. INTRODUCTION
    24
                    11. Plaintiffs are proceeding, pro se in this case. Therefore, this Court must construe
    25
         this claim liberally and hold it to a less stringent standard than the Court would apply to a
    26
         pleading drafted by a lawyer. See, Laber v. Harvey, 438 F.3d 404,413 n. 3 (4th Cir. 2006).
    27

    28


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     1                         (a)        In Picking, the plaintiffs civil rights were 150 pages long and described

     2   by a Federal Judge as "inept." The Court held that where a plaintiff pleads pro-se in a suit for

     3   protection of civil rights, the court should endeavor to construe plaintiffs pleading without
     4   regard to technicalities. Picking v. Pennsylvania Railway, (l51 F2d. 240) (N.J. is in 3r Cir.),
     5   Third Circuit Court of Appeals.
     6                         (b)         In Walter Process Equipment v. Food Machinery, 382 U.S. 172 (1965) it

     7   was held that in a "motion to dismiss, the material allegations of the complaint are taken as
     8   admitted." From this vantage point, courts are reluctant to dismiss complaints unless it appears
     9   the plaintiff can prove no set of facts in support of his claim which would entitle him to relief.
    10
         (See, Conley vs. Gibson, 355 U.S. 41 (1957).
    11
                    12.        Moreover, Plaintiffs claim that statements of counsel in motions, briefs or in oral
    12
         arguments are not facts before this Court. (See, Trinsey v Pagliaro, 229 F. Supp. 647).
    13
                    13.        Plaintiffs in this action are victims of unlawful acts perpetrated by Defendant, in
    14
         efforts to unlawfully foreclose on Plaintiffs propert. In doing so, Defendant has made
    15
         numerous violation of the FDCPA, Rosenthal Fair Debt Collection Practices Act ("RFDCPA")
    16
         CaL. Civ. § 1788, and the California Credit Reporting Agency Act ("CCRA").
    17
                                                                      IV. DEFINITIONS
    18
                    14.         Under the FDCPA 15 U.S.C. § 1692a(4) the term "creditor" means any person
    19   who offers or extends credit creating a debt or to whom a debt is owed, but such term does not
    20   include any person to the extent that he receives an assignent or transfer of a debt in default
    21   solely for the purpose of           faciltating collection of such debt for another.

    22              15.         Under the FDCPA 15 U.S.C. § 1692a(5) the term "debt" means any          obligation
    23   or alleged obligation of a consumer to pay money arising out of a transaction in which the
    24   money, propert, insurance or services which are the subject of the transaction are primarily for
    25   personal, family, or household purposes, whether or not such obligation has been reduced to
    26 judgment.

    27              16.              Under the FDCPA 15 U.S.C. § 1692a(6) the term "debt collector" means any
    28   person who uses any instrumentality of interstate commerce or the mails in any business the

                                                                        Page    4 of22
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       1 principal purpose of              which is the collection of any debts, or who regularly collects or attempts to

      2 collect, directly or indirectly, debts owed or due or asserted to be owed or due another.


      3 17. Under the FDCPA 15 U.S.C. § 1692e - A debt collector may not use any false,

      4 deceptive, or misleading representation or means in connection with the collection of any debt.


      5                 18.        Under the FDCPA 15 U.S.C. § 1692f - A debt collector may not use unfair or

      6 unconscionable means to collect or attempt to collect any debt.

      7 19. Under the FDCPA 15 U.S.C. § 1692i - (a) Any debt collector who brings any

      8 legal action on a debt against any consumer shall -- (1) in the case of an action to enforce an
      9 interest in real propert securing the consumer's obligation, bring such action only in a judicial


    10 district or similar legal entity in which such real propert is located.

    11 V. FACTUAL BACKGROUND
    12                 20.        Plaintiffs have received a number of dunning letters requesting that money be

    13 paid. A duning notice is a collection letter sent to a defaulting debtor demanding payment.
    14 Plaintiff, having recently becoming aware that Defendant may not be who they claim to be, sent

    15 a letter of
                           validation on May 22,2014 (Exhibit A).

    16                 21.        On October 10,2011, OCWEN MORTGAGE, LLC, issued a 1099-C to Kristina

    17      in the amount of          $555,150.21. So, even if       Defendant was able to prove that they had the right to

    18      foreclose (which they have not proved), how would they stil be able to foreclose as this would

    19
            be unjust enrichment (Exhibit B). Now they would be double dipping in that they have written

            this off their records by sending Kristina a 1099-C and foreclosing on the propert.
    20

    21
                                                         Vi. GENERAL ALLEGATIONS

    22      Plaintiffs are informed and believes and therefore alleges that:

    23                 22.        This alleged debt was acquired by Defendant after it was in default, according to

    24 FDCPA 15 USC 1692a( 6), if a debt is acquired while in default the entity that acquires it is

    25 considered to be a "debt collector." This statute makes no exception regarding the method of


    26 acquisition ofthe debt, so therefore it would not matter if                  the alleged debt was acquired by   or

    27 through a successor in interest, of if they were able to provide a copy of the purchase assumption

   28 agreement which specifically lists the alleged debt.


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                                                                      :" ¡.
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     1 23. Plaintiffs in this action are victims of unlawful acts perpetrated by Defendant, in

     2 efforts to unlawfully foreclose on Plaintiffs propert. According to the FDCPA, the only method


     3 of foreclosure that a debt collector can avail themselves to would be a judicial foreclosure, and


     4 even if        Defendant was to prevail the judgment could only be for monetar compensation, 15 USC

     5 1692i (which OCWEN has already availed themselves to by presenting Kristina with a 1099-C on

     6 May 18, 2011, not possession of
                                                            real propert 15 USC 1692i (Exhibit C). In taking the actions
     7 Defendant has taken by ilegally foreclosing on Plaintiff s real propert through use of non-

     8 judicial foreclosure, Defendant has made numerous violations of
                                                                                                     the FDCPA, Rosenthal Fair
     9     Debt Collection Practices Act ("RFDCP A") CaL. Civ. Code § 1788.
    10                24. Defendant is engaged in the collection of debts from consumers using the                        mail   and
    11     telephone. Defendant regularly attempts to collect debts alleged to be due to another. Under the
    12     FDCPA 15 U.S.C. § 1692a(6) the term "debt collector" means any person who uses any
    13     instrumentality of interstate commerce or the mails in any business the principal purpose of which
    14     is the collection of any debts, or who regularly collects or attempts to collect, directly or
    15     indirectly, debts owed or due or asserted to be owed or due another. Defendant here is a debt
    16     collector under the FDCP A. Defendant is NOT a creditor or a lender.
    17                25. In addition, where a loan servicer becomes the loan servicer after the borrower is in

    18
          default, the loan servicer is a "debt collector" and becomes obligated to comply with the FDCPA
    19
          in all respects. See Santoro v. CTC Foreclosure SerVo Corp., 12 F. App'x. 476, 480 (9th Cir.
    20
          2001); Kee v. R-G Crown Bank, 656 F. Supp. 2d 1348, 1354 (D. Utah 2009) (determining 'that a
    21
          loan servicer . ... is only a 'debt collector' within the meaning ofthe FDCPA ifit acquires the loan
    22
          after it is in default). See also Alibrandri v. Fin. Outsourcing Servs., Inc., 333 F.3d 82 (2d Cir.
    23
          2003) (holding that a debt was in "default" and a service provider was a "debt collector," by
    24
          virtue of the service providers collection letter declaring the debt in default and informing the
    25
          debtor that the service provide was, in fact, a debt collector). Here, Defendant obtained the loan
    26
          after it was in default.
    27

    28


                                                                         Page    6 of22
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             1 26. Federal courts have held that WFB must comply with the FDCP A. A Federal

             2 District Court within the Ninth Circuit Court of Appeals (whose jurisdiction includes federal


            3 courts in California) has held that Wells Fargo Bank, N.A. may be a debt collector required to


            4 comply with the FDCPA. Willams v. Wells Fargo Bank, N.A., Et aI., 2012 U.S. Dist. LEXIS

            5 2871 (W.D. W A, January 12, 2012).

            6                27. In Willams, the consumers alleged Wells Fargo was in violation of
                                                                                                                              federal debt
            7     collection laws by failng to provide verification of
                                                                                              the alleged debt. 15 U.S.C. §1692, et seq. In
            8     their motion to have the lawsuit thrown out, Wells Fargo did not claim that the bank had provided
            9     verification of the debt to the consumers. Instead, the bank asserted two reasons the case should
        10
                  be dismissed. First, WFB argued it was not a debt collector under the FDCP A. The bank argued
        11
                  that the FDCPA only applies to "parties collecting the debt of another," 15 U.S.C. § 1692(a)(6),
        12
                  and that "creditors, mortgagors and mortgage servicing companies are not 'debt collectors' and
        13
                 are exempt from liabilty under the (FDCPAJ." id. (citing Caballero v. OCWEN Loan Servicing,
       14
                 2009 U.S. Dist. LEXIS 45213, 2009 WL 1528128, at *1 (N.D. CaL. 2009) and Glover v. Fremont
       15
                  Inv. and Loan, 2009 U.S. Dist. LEXIS 117890, 20Q9 WL 6114001, at *8 (N.D. CaL. 2009)).
       16
                 Simply put, Wells Fargo argued that because it was collecting its own debts it was exempt from
       17
                 FDCPA liabilty. Second, Wells Fargo claimed that the FDCPA does not apply in a non-judicial
       18
                 foreclosure proceeding. Basically, the bank argued that when there is a tyical foreclosure on a
       19
                 deed of    trust, (where there is no lawsuit fied by the bank), the bank is not attempting to collect
       20
                money, and thus they are not really attempting to collect a debt. In this case, Defendant did not
       21
                and has not verified the debt after Plaintiffs have asked a numerous amount of times.
       22
                           28. The federal court disagreed with Wells Fargo on both grounds. The court reasoned
       23
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                the term "debt collector" applies to those who acquired the debt when it was already in default.
i
J
       24
1
ì               See Schlosser v. Fairbanks Capital Corp., 323 F.3d 534,536 (7th Cir. 2003). The Court noted
1      25
I
       26
                that Wells Fargo admitted the debt had already been in default for one year when the deed of
                                                                                                                                       trst
I
i
1               was assigned to Wells Fargo, and thus Wells Fargo met the definition of a debt collector under the
j
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       27
¡
      28
                FDCPA. Next, the Court ruled on the issue of                        whether foreclosing on propert could be
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     1   considered an attempt to collect a debt, and it stated: "Although the Court is aware of district

     2   court cases that have held that the act of foreclosing on propert is not "debt collection" under the

     3   FDCPA, this Court has not adopted such a per se holding and it wil not do so here. See Albers v.

     4   Nationstar Mortg. LL C, 2011 U.S. Dist. LEXIS 182,2011 WL 43584, at *2 (E.D.Wash. Jan. 3,

     5   2011) (citing cases). Nothing in the statute compels the Court                                to create an exception to the
     6   definition of      "debt collector," as Wells Fargo proposes, where a part is non-judicially enforcing
     7   on a security instrument rather than pursuing debt collection through more traditional means. To
     8   the contrary, courts have reasoned that as long as a defendant meets the statutory definition of
     9   debt collector, ''they can be covered by all sections of                        the Act. . .regardless of     whether they also
    10   enforce security interests." Wilson v. Draper & Goldberg, P.LL.C., 443 F.3d 373, 378 (4th Cir.
    11
         2006) (referring to § 1692f(6) as an inclusive provision); see also Kaltenbach v. Richards,                                   464
    12
         F.3d 524, 528-29 (5th Cir. 2005) (noting that "the entire FDCPA can apply to a part whose
    13
         principal business is enforcing security interests but who nevertheless fits § 1692a(6)'s general
    14
         definition of debt collector").
    15
                    29. Furthermore, Plaintiffs are "consumers" as that term is defined in 15
    16
         USC§ 1692a(3), and CA Code 1788.2( c), since the alleged debt here deals with the purchase of a
    17
         home, which means it's a debt incurred for personal family purposes.
    18
                    30. In addition, where a loan servicer becomes the loan servicer after the borrower is in
    19
         default, the loan servicer is a "debt collector" and becomes obligated to comply with the FDCPA
    20
         in all respects. See Santoro v. CTC Foreclosure SerVo Corp., 12 F. App'x. 476, 480 (9th Cir.
    21
         2001); Kee v. R-G Crown Bank, 656 F. Supp. 2d 1348, 1354 (D. Utah 2009) (determining 'that a
    22
         loan servicer. . . is only a 'debt collector' within the meaning of                             the FDCPA ifit acquires the loan
    23
         after it is in default'). See also Alibrandri v. Fin. Outsourcing Servs., Inc., 333 F.3d 82 (2d Cir.
    24
         2003) (holding that a debt was in "default" and a service provider was a "debt collector," by
    25
         virtue of the service providers collection letter declaring the debt in default and informing the
    26
         debtor that the service provider was, in fact, a debt collector).
    27

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      1                31. Furthermore, Plaintiffs are "consumer" as that term is defined in 15

      2   USC§1692a(3), and CA Code 1788.2(c), since the alleged debt here deals with the purchase ofa

      3   home, which means it's a debt incurred for personal family purposes.

      4                32. Plaintiffs do not have a contract with Defendant. Therefore, Defendant has no

      5   standing.

      6                33. That collection of any alleged debt after having been written off or charged off

      7   would be a case of            unjust enrichment, and/or fraud on the consumer and/or fraud on the court.
      8                34. To the best of              Plaintiffs knowledge and belief, Defendant has used the mails of                    the
      9   United States to attempt to collect from Plaintiffs an alleged debt purportedly previously owed to
     10   an "original creditor," other than Defendants, which has purportedly been "charged off."
     11
                       35. Defendant has violated FDCPA, 15 U.S.C. §1692e, because it made and/or employed
     12
          false, deceptive and misleading representations and/or means in connection with the instant cause
     13
          of action. Said false, deceptive and misleading representations were and have been made and are
     14
          being made to credit reporting bureaus and others as more specifically set out hereafter. Some or
     15
          all of said false, deceptive and misleading representations were knowingly and intentionally made
     16
          by Defendant.
     17
                       36. Defendant has violated the FDCPA, 15 U.S.C. §1692d because it has engaged in
    18
          conduct of        which the natural consequence of                  which is to harass, oppress, or abuse Plaintiffs in
    19
          connection with the alleged attempt to collect on this debt and foreclosure of                                  Plaintiffs propert.
    20
          Defendant knowingly and intentionally engaged in harassing, oppressive, and/or abusive conduct
    21
          toward Plaintiff Defendant knew or should have known that the natural consequences of said
    22
          conduct would be to harass, oppress, or abuse Plaintiffs.
    23
                       37. Plaintiffs, here were deceived, and Defendant misrepresented themselves implying
    24
          they were entitled to act as a Creditor, and have foreclosed on the Subject Propert even though at
    25
          no time did Defendants have any proof that Plaintiffs owed them any alleged debt.
    26

    27

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          1               38. Defendant has violated the FDCPA, and is liable to Plaintiffs for statutory, actual,

      2       and punitive damages thereon, attorneys' fees, and costs. Said violations include, but are not

      3       limited to violations of 15 U.S.C. §1692e, et seq. and 15 U.S.C. §1692d, et seq.

      4                  39. Defendant has knowingly, intentionally, deliberately, and fraudulently

      5       misrepresented, and/ or mislead what Plaintiffs legal status, character, and/or amount of                          the
      6       alleged debt was in violation of 15 U.S.C. §1692e(2), and in violation ofU.S.C.15 §1692e(10).
      7                  40. By attempting to collect on this alleged debt and having already foreclosed on
      8       Plaintiffs propert, Defendant falsely, knowingly, deliberately, fraudulently, and intentionally
      9       misrepresented to Plaintiffs and all other persons having or acquiring knowledge of                            the actions of
     10       Defendant against Plaintiffs, including credit reporting bureaus, and persons or entities Plaintiffs
     11
              might seek to obtain credit from, present or futue potential employers of                           Plaintiffs, and other
     12
              persons and entities that it has the legal right to pursue this account in this Court. Defendant's
     13
              actions all constitute violations of              the FDCPA and the Fair Business Practices Act.
     14
                         41. Defendant has not verified or produced: any accounting or financial records,
     15
              necessary to prove the breakdown ofthe purported "total" amount alleged to be owed, with
     16
              respect to its components, such as principal, interest, late fees, over limit fees, etc. or their current
     17
              license in the state of         California to act as a debt collector.
     18
                                                          ViI. FIRST CLAIM FOR RELIEF
     19
              FEDERAL FAIR DEBT COLLECTION PRACTICES ACT (FDCPA), 15 U.S.C. § 1692 ET
     20

     21
                                                                                  SEQ.

     22                 42. Plaintiffs incorporate the allegations in all preceding paragraphs as if fully set forth

     23       herein.

     24                 43. Defendant is a "debt collector" as defined by                             the FDCPA, 15 U.S.C. § 1692a(6).

     25                 44. Plaintiffs are "consumers" as defined by 15 U.S.C. § 1692a(3)


     26                 45. Defendant has violated the FDCPA in connection with its attempts to collect an

     27       account against Plaintiffs. Defendant's violations include, but are not limited to, 15 U.S.C. §

     28       1692d, 1692e, 1692e(2)(A), 1695e(5), 1692e(8), 1692e(10),1692g 1692i.


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          1           46.      Defendant engaged in conduct of which the natural consequence of which is to

          2 harass, oppress, or abuse Plaintiffs in connection with the collection of a debt; and b. Defendant


          3 used false, deceptive, or misleading representations or means in connection with the collection of

          4 a debt; supported by the unauthenticated assignment; e. Otherwise violated the FDCPA.


          5 47. Further, there is no specific amount of value indicated on this assignment; even if

          6   Defendant were to be able to provide an authenticated Power of Attorney. (Plaintiffs want to
          7   reserve the right to petition the Notary's log for authentication and validation.) An accounting that
          8   is signed and dated by the person responsible for the account has not been produced. Claim of
          9   damages, to be admissible as evidence, must incorporate records such as a general ledger and
         10   accounting of the alleged debt, the person responsible for preparing and maintaining the account
         11
              general ledger must provide a complete accounting which must be sworn to and dated by the
         12
              person who maintained the ledger. See Pacific Concrete F.C.U. V. Kauanoe, 62 Haw. 334, 614
         13
              P.2d 936 (1980), GE Capital Hawaii, Inc. v. Yonenaka 25 PJd 807,96 Hawaii 32, (Hawaii App
         14
              2001), Fooks v. Norwich Housing Authority 28 Conn. L. Rptr. 371, (Conn. Super.2000), and
         15
              Town of Brookfield v. Candlewood Shores Estates, Inc. 513 A,2d 1218,201 Conn.! (1986).
         16
                      48. Non-judicial foreclosure, attempting to seize propert is a violation of FDCPA 15
         17
              USC 1692i.
         18
                      49. Failure to Validate alleged debt as required by 15 USC 1692g.
         19
                      50. Plaintiffs allege that Defendant routinely ignored, and thrQugh their actions
         20
              continued to violate FDCP A rules to enhance their own profits.
         21
                      51. Defendant's conduct was negligent or wilful or both, rendering it liable for
         22
              attempting to collect fees, interest, and expenses from Plaintiffs that are not authorized by any
         23
              agreement or permitted by law, in violation of 1692 f(I).
         24
                      52. Defendant's conduct was negligent or wilful or both, rendering it liable for failng
         25
              to cease collection of an alleged debt, and not providing proper validation of the alleged debt to
         26
              Plaintiffs, 1692 g (b).
         27

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      1              53. As a result of the foregoing violations, Defendant is liable for actual damages,


      2   including general damages and special damages in an amount to be proven at trial, but not less

      3   than $2,000 per Plaintiff, pursuant to 15 U.S.C. §1692(k) a 1.

      4              54. As a result of the foregoing violations, Defendant is liable for actual damages

      5   ,including general damages and special damages in an amount to be proven at trial, but not less
      6   than $1,000 per Plaintiff, pursuant to 15 U.S.C. § 1692(k) a 2 a.
      7              55. As a result of              the foregoing violations, Defendant is liable for costs and reasonable
      8   attorney's fees pursuant to 15 U.S.C. § 1692(k) a 3.
      9              56. As a result of the foregoing violations, Defendant should be enjoined from

     10   employing any of the unlawful conduct, methods, acts, or practices under the FDCP A alleged
     11
          herein or proven at triaL.
     12
                     57. An actual controversy has arisen and now exists between Plaintiffs and Defendant
     13
          concerning their respective rights and duties under the FDCP A. A judicial declaration pursuant to
     14
          Code ofCiv. Procedure 1060 that Defendant's actions violated the FDCPA is necessary so that all
     15
          parties may ascertain their rights and duties under the law.
     16
                     58. Based on the allegations above and further set forth herein, Defendant violated 15
     17
          U.S.C. §1692d by engaging in conduct the natural consequence of                   which is to harass, oppress, or
     18
          abuse Defendant by, without limitation;' Continuing to pursue collection of disputed and
     19
          unverified debt; foreclosing on Plaintiffs propert and sellng it; forcing Defendant to defend
     20
          against an invalid action, and further, and in addition thereto, knew or should have known that it
     21
          has engaged in such conduct, and the said consequences thereof.
     22
                     59. Upon information and belief, Defendant has communicated credit information to
     23
          persons, including but not limited to credit reporting bureaus or agencies, with respect to
     24
          Plaintiffs, which it knew or should have known to be false - including without limitation
     25
          allegations that Plaintiffs owed the purported debt which is the subject of this action, and/or that
     26
          Plaintiffs owe said debt to Defendants and/or that Defendants are the original creditor of said
     27
          alleged debt.
     28


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      1              60. Upon information and belief, Defendant, is in violation of 15 U.S.C. §1692e(8),

      2   because Defendant failed to communicate to Plaintiffs, other persons and entities, including credit

      3   bureaus, and persons yet to be determined, that Plaintiffs had disputed the alleged debt.

      4              61. An actual controversy has arisen and now exists between Plaintiffs and Defendant
      5   concerning their respective rights and duties under the FDCP A. A judicial declaration pursuant to
      6   Code ofCiv. Procedure 1060 that Defendant's actions violated the FDCPA is necessary so that all
      7   parties may ascertin their rights and duties under the law.
      8              62. By falsely representing that Defendant is either an assignee of an original creditor,
      9   and/or that said assignment constitutes a proper, competent, or valid assignment between

     10   Defendant and the original creditor of any alleged debt by any alleged original creditor to
     11
          Defendant, and/or that Defendant is the original creditor, Defendant has made material, false and
     12
          misleading representations, and has further communicated to Plaintiffs and other persons credit
     13
          information which is known or which should be known to be false, including the above, the
     14
          failure to communicate that a disputed debt is disputed, the "re-aging" of said debt, the false and
     15
          misleading representation and impression that Defendant is the original creditor of said debt, and
     16
          other material false and misleading representations, and has violated 15 U.S.C. §1692e, 15 U.S.C.
     17
          §1692e(8), §1692e(2)(A), § 1692e(5), § 1692e(10) and § 1692f. Defendant either knew or should
     18
          have known all of the above.
     19
                     63. Under the FDCPA 15 U.S.C. § 1692f - A debt collector may not use unfair or
     20
          unconscionable means to collect or attempt to collect any debt; (6) Taking or threatening to take
     21
          any non-judicial action to effect dispossession or disablement of propert if-(A) there is no
     22
          present right to possession of the propert claimed as collateral through an enforceable security
     23
          interest. In Armacost v. HSBC Bank USA, No. 10-CY0274-EJL-LMb, 2011 WL 825151 (D.             Idaho
     24
          Feb. 9, 2011) the plaintiff generally alleged violations of 15 U.S.C. § 1692f and argued that
     25
          defendant did not have standing to foreclose on the deed of trust. Defendant here also does not
     26
          have standing to foreclose. The court first noted that the definition of "debt collection" found in
     27
          15 U.S.C. § 1692a(6) included the following sentence: "For the purpose of section 1692f(6) of
     28


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      1   this title, (a debt collector) also includes the principal purpose of which is the enforcement of

      2   security interests." Id. It then explained that 15 U.S.C. § 1692f(6) prohibits a debt collector from

      3   "taking or threatening to take any non-judicial action to effect dispossession or disablement of

      4   propert if (A) there is no present right to possession of the propert claimed as collateral through


      5   an enforceable security interest." Id. at n.5 (quoting 15 U.S.C. §1692f(6). The case stated, "if

      6   'debt collection' generally included the enforcement of a security interest, the language specifying

      7   so for the purposes of § 1692f( 6) would be surplus, and such a construction would violate a 'long

      8   standing canon of statutory construction that terms in a statute should not be construed so as to

      9   render any provision of             that statute meaningless or superfluous." Id. (quoting Beck v. Prupis,             529

     10   U.S. 494, 506 (2000)) (footnote omitted). The court thus concluded that while "a non-judicial

     11   foreclosure action generally does not constitute a 'debt collection activity' under the FDCPA," an

     12   exception to this rule existed for claims under 15 U.S.C. § 1602f(6) Id.

     13              64. The FDCPA, §1692k, provides for actual damages, statutory damages up to one-

     14   thousand dollars ($1,000.00) per violation, costs of the action, and reasonable attorneys' fees.
     15   Defendant has suffered actual damages as the proximate and actual cause and result of the
     16   violations of      the FDCPA by Defendants to be determined at triaL. Defendant is liable to Plaintiffs

     17   for statutory damages as prescribed by §1692k(a)(2)(A), actual damages pursuant to § 1692k(a)(l)
     18   in an amount to be determined at time of                     trial, and reasonable attorneys' fees and costs pursuant to
     19   §1692k(a)(3).
     20              65. Courts wil carefully scrutinize non-judicial foreclosures and set them aside if the
     21   borrower's rights have been violated. Stirton v. Pastor                           (1960) 2 CaL. Rptr. 135, 177 CaL. App. 2d
     22   232.
     23              66. Plaintiffs hereby prays for actual damages under the FDCP A, and for statutory

     24   damages as set forth above for each and every violation of the FDCP A proven at the trial of this
     25
          case, and reasonable attorneys' fees and costs thereunder.
     26

     27

     28


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                                'J
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       1                                                  ViiI. SECOND CLAIM FOR RELIEF
      2
             VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
      3
                                                           (CaL. Civ. Code § 1788, et seq.)
      4
                     67. Plaintiffs incorporate the allegations in all preceding paragraphs as if fully set forth

      5
           herein.
      6
                     68. Plaintiffs are consumes as set forth above and the alleged debt owed is a consumer
      7
           debt pursuant to the RFDCP A.
      8
                     69.        Defendant is a debt collector in the business of collecting debts.
      9
                     70.        Defendant is engaged in unfair collection practices in violation of the RFDCP A by,
     10
           inter alia:
     11
                     A.         Defendants proceeded to attempt to collect a debt that was not owed, using abusive
     12
           tactics, including repeatedly contacting Plaintiffs through the maiL.
     13
                     B.         Defendants demanded payment for an invalid debt.
     14
                     C.         By communicating and disclosing to credit bureaus Plaintiffs information without
     15
           Plaintiffs consent, and having the credit bureau's issue negative marks against Plaintiffs.
     16
                     D.         Defendants who are debt collectors have been communicating with Plaintiff and
     17
           trying to pass themselves off as creditors.
     18
                     71.        Defendant violated the RFDCPA, through their violations of 15 U.S.C. §§ 1692 (e)
     19
           and (t) of the FDCP A, by making false or misleading representations in their unfair attempts to
     20
           collect an alleged debt from Plaintiffs.
     21

     22              72. Defendant's violations of                    the RFDCPA were intentional and/or malicious.

     23              73. As a result of              Defendants violations of     the RFDCPA by Defendant's, Plaintiffs are

     24 entitled to actual and statutory damages, attorney's fees and costs under California Civil Code §

     25 1788.30, and such other relief as the court determines.

    26 I X. T H I R D C L A I M FOR R E LI E F
    27 CALIFORNIA CONSUMER CREDIT REPORTING AGENCY
    28


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      1              74. Plaintiffs incorporate the allegations in all preceding paragraphs as if    fully set forth


      2   herein.
      3
                     75. Under the California Consumer Credit Reporting Agency ("CCCRA") CaL. Civ.
      4
          Code §1785.25(a) provides that the furnisher "shall not" fuish credit information to "any credit
      5
          reporting agency if         the person (furnisher) knows or should know the information is incomplete or
      6
          inaccurate." Likewise, if a furnisher determines any previously reported information is incomplete
      7

      8   or inaccurate, it must update and correct that information so that it is "complete and accurate."

      9   CaL. Civ. Code §1785.25(b). So long as a consumer continues to dispute the credit history or

     10   information, the furnisher must note or flag the existence of this dispute anytime it furnishes
     11
          credit information about that consumer. CaL. Civ. Code §1785.25(c).
     12
                    76. Additionally, the CCRA was amended to require that if a furnisher of
     13
          information receives a notice of dispute made pursuant to CaL. Civ. Code § 1785.16(a), it then
     14

     15
          owes a duty to (1) "review relevant information" submitted to it; (2) "complete an investigation

     16   with respect to the disputed information" it provided; and (3) to "report to the consumer credit


     17   reporting agency the results of that investigation" within 30-business days. CaL. Civ. Code §
     18   1785.25(f).
     19
                                                          X. FOURTH CLAIM FOR RELIEF
     20

     21                              I NTENTI ONAL IN FLI CTIO N 0 F EM OTI ONAL DISTRESS

     22             77. Plaintiffs incorporate the allegations in all preceding paragraphs as if    fully set

     23   forth herein.

     24             78. Defendant's acts and/or omissions were done intentionally and/or with gross

     25   indifference to Plaintiffs rights.
     26             79. Plaintiffs emotional distress includes, but is not limited to, extreme humilation,

     27   anxiety and a loss of sleep. As a result of the Defendant's conduct, Plaintiffs have suffered

     28   compensatory, general, and special damages in an amount according to proof. Additionally,

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          1    Defendant acted with malice, fraud and/or oppression, by attempting to take Plaintiffs propert

      2        through foreclosure when they have no legal right to do so, and thus, Plaintiffs are entitled to an

      3        award of punitive damages.

      4                                                        Xl. SIXTH CAUSE OF ACTION
      5                                                              INJUNCTIVE RELIEF
      6                   80. Plaintiffs incorporate by reference as through fully set forth herein, each and every

      7       allegation above set forth in this complaint.
      8                   81. At all times herein relevant, Defendant, has wrongfully and unlawfully threatened:

      9       Plaintiff s quiet enjoyment and use of its real propert.
     10
                          82. Defendant's threatened cûnduct, unless and unti enjoined and restrained by this

     11
              Court wil cause great and irreparable injury to Plaintiffs in that it Plaintiffs wil be deprived of
     12
              the quiet use and enjoyment of its real propert.
     13
                         83. Not only wil Defendant's threatened conduct cause great and irreparable harm to

     14
              Plaintiffs unless and until enjoined, that same threatened conduct wil cause great and irreparable
     15
              harm to Plaintiffs family.
     16
                         84. Plaintiffs have no adequate remedy at law for the injuries that wil result from the
     17
              threatened conduct ofDefendants in that it wil be impossible for Plaintiffs to calculate the
     18
              precise amount of damages it wil suffer if                Defendant's conduct is not enjoined and restrained.
     19
                         85. In this case, the irreparable harm that Plaintiffs wil suffer is obvious and
     20
              enormous. Plaintiffs wil             lose their real propert and wil be evicted from their home. Plaintiffs
     21
              wil incur the costs and emotional distress of losing his propert and repairing his further
     22
              damaged credit history. Undeniably, Plaintiffs wil suffer severe damages.
    23
                                                                         CONCLUSION
    24
                         Here, Defendant does not have standing or the enforceable right to take possession of
    25
              Plaintiffs Propert, because of               the failure to comply with strict statutory, legal contractual duties.
    26
              Said action has resulted in the wrongful foreclosure of the Propert. Being that Defendant is a
    27
              debt collector the only remedy they are entitled to would have been a judicial foreclosure.
    28


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          1   However, knowing that they would not have been able to prove standing or the proper

      2       documentation they foreclosed on the propert through nonjudicial foreclosure and thereby

      3       violated countless sections of the FDCP A.

      4                  Further, Plaintiffs are concerned that Defendant OCWEN and Does 1 -100, unless

      5       restrained, wil attempt to remove Plaintiffs from the possession of the Subject Propert by an
      6       unlawful detainer action that has been filed in state court. Defendant OCWEN and Does 1 -
      7       100, are knowledgeable that they have already reported a 1099-C, and that any possession of the
      8       subject propert with the intent to sell would be unjust enrichment, and that any such action
      9       would cause irreparable harm to the Plaintiffs, as well as cause monetary compensation which
     10       wil not afford adequate relief    because Plaintiffs Propert is unique.
     11
                         Thereby, Plaintiffs respectfully request that a temporary restraining order is necessary to
     12
              ensure that Plaintiffs and their family are not displaced before the court has had an opportnity
     13
              to hear, and adjudicate the case as to its merits, and whether or not it can proceed to a hearing in
     14
              front of a jury.
     15
                                                      REQUEST FOR RELIEF
     16
                         W HER E FOR E, Plaintiff prays for judgment against Defendant as follows:
     17
                         1. For Equitable relief, including an Order for Defendant to rescind all Notices of
     18
              Default against Plaintiffs account and to engage in reasonable efforts to restore Plaintiffs credit
     19
              to its previous standing, by entering a statement which says, "Paid as Agreed";
     20
                        2. For a temporary and preliminary injunction enjoining Defendant transferring the
     21
              Subject Propert of or from taking any action to evict Plaintiff from her home during the
     22
              pendency of this action;
    23
                        3. That the Court issue a declaration that the Defendant be required to release the
    24
              lien on the Subject Propert and return propert title back to Plaintiff;
    25
                        4. That the Court Order judgment quieting title to Plaintiff as the owner of the
    26
              Subject Propert and that all Defendants have no title, right to the estate, lien or interest in the
    27
              propert;
    28


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      1                 5.        That the Court enter a judgment declaring Defendant's actions and practices

      2 complained of             herein to be unlawful, unfair, and fraudulent;

      3                 6.        For injunctive relief against Defendants to prevent future wrongful conduct;

      4                 7.        That Plaintiff recover costs, and reasonable attorney fees, if incurred;

      5                 8.        That Defendant be required to specifically prove all allegations in this action;
      6                 9.        For general damages and special damages in an amount to be proven at trial, but
      7 not less than $2,000 per Plaintiff, pursuant to 15 U.S.C. 1692(k) a 1;


      8                 10.       For actual damages, including general damages and special damages in an
      9     amount to be proven at trial, but not less than $1,000 per cross-complainant, pursuant to 15 USC
     10     1692(k) a 2 a;
     11
                        11.       For costs and reasonable attorney's fees pursuant to 15 USC 1692(k) a 3.
     12
                        12.       For a judicial declaration pursuant to Code of Civ. Procedure 1060 that
     13
           Defendants actions violated the FDCP A;
     14
                        13.       For punitive damages;
     15
                        14.       And for such other and further relief as the Court may deem just, equitable and
     16
                        proper.
     17

     18    Dated: June 27,2014

     19

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                                                              Page 19 of22
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          1


      2                                             DEMAND FOR JURY TRIAL
                    Plaintiff   hereby demands a trial by jury of each and every claim so triable.
      3

      4
              Dated: June 27,2014
      5

      6

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      1                                                 VERIFICATION
      2           I am the plaintiff in the above-entitled action. I have read the foregoing complaint and
          know the contents thereof. The same is true of my own knowledge, except as to those matters
      3
          which are therein stated on information and belief, and as to those matters, I believe it to be true.
      4
                  I declare under penalty of perjury under the laws of the State of California that the
      5
          foregoing is true and correct.
      6

      7   Dated: June 27, 2014

      8

      9

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      1                                    CERTIFICATE OFSERVICE
          The undersigned plaintiffs hereby certifies that on June 27, 2014, a true and correct copy of
      2
          COMPLAI FOR DAMAGES, RESTITUTION, AND INJUNCTIVE RELIEF was personally
      3
          fied with the Clerk of the Court. The undersigned further certifies that a copy of this Motion wil
      4
          be served on the paries in said action, by placing a true copy thereof in a sealed envelope with
      5 postage thereon fully prepared in the United States addressed as follows:


      6

      7 OCWEN LOAN SERVICING, LLC
         C/O CSC - Lawyers Incorporate Services, Agent
      8 10 Universal City Plaza
          Universal City, CA. 91608
      9

     10

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                     EXHIBIT A
                                       23
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      BUTLER, PHELPS, KAUFM &
                                                                        848 N. Rainbow Blvd., Ste. A49
                                                                                Las Vegas, NV 89107
                                                                                888-250-6713 - Offce
                                                                                  888-250-5074 - Fax


      May     22, 2014

      Gary M. Garcia                                  DELIVERED BY FAX - 800-766-4622
      Kristina Garcua                                                          866-501-1610
      23850 Hollngsworth Dr.                                                   866-709-4744
      Murrietta, CA 92562

      OCWEN Loan Servicing, LLC
      P.D. Box 780
      Waterloo, IA 50704-0780

      Re: Account Number - 706372430

     Legal Department,

     I am sending this letter to you in response to a notice I recently received from. Be
     advised, this is not a refusal to pay, but a notice sent pursuant to the Fair Debt
     Collection Practices Act, 15 USC 1692g Sec. 809 (b) that your claim is DISPUTED and
     validation is requested.

     This is NOT a request for "verification" or proof of my mailing address, but a request for
     VALIDATION made pursuant to the above named Title and Section. i respectfully
     request that your office provide me with competent evidence that I have any legal
     obligation to pay you.

     Please provide me with the following:

     .What the money you say is owed and what is it for;
     .Explain and show how you calculated what you say is owed;
     .Provide copies of any documentation that shows there was some sort of agreement
      between your company (OCWEN), and our client (Jessy Samuel) to pay you what you
      say is owe;
     .Provide a verification or copy of any judgment you have receive against Ms. Samuel if
      applicable;
     .Identity the original creditor;
     .Provide a copy of your license proving that you are authorized as a Debt Collector in
      the state of Georgia; and
     .Provide me with your license numbers and Registered Agent.
     · Have there been any insurance claims, tax credits andlor any other type of payment


     Debt Validation Request Letter


                                                     '2~
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       received by the original lender from anyone in any format that would pay down this
       alleged obligation or paid it in its entirety.
      -Has there been any type of payment obtained for the purpose of settling this alleged
       debt?


      In addition, your papers attached hereto are REFUSED, DENIED, AND RETURNED
      FOR FRAUD. For an enforceable debt claim; to be lawful all parties must consent
      to contract. The above named individual(s) has/have never consented to contract with
      your company. In addition, evidence of debt alone does not  make your company one
      which       is entitled to collect. If your presumption                       is you've obtained explicit or implied
      consent, you have now been put on notice that any subrogation has now been rebutted
      and any presumption of consent is hereby VOID for fraud.

      Further, the Fair Debt Collections Practices Act does not give you the authority to force
      me to consent to contract with you. Show me your lawful authority to enforce an
     alleged debt claim against me tû my detriment without my consent.

     You are also in violation of the Fair Debt Collection Practices Act by use of misleading
     representation and unfair and deceptive practices in the attempted collection of a debt.

     If you cannot substantively answer within 15 days and either prove your authority or
     prove specific contractual obligation between you and me, then cease and desist and
     immediately remove any derogatory reporting to the credit bureaus. Further, as an act
     of good faith provide me with written confirmation this matter has been resolved (with all
     rights reserved and without recourse), and                               any negative report¡~g to the Gred¡t bureæ.æ
     has ceased.

     If your offices have reported invalidated information to any of the three major Credit
     Bureau's (Equifax, Experian or TransUnion), said action might constitute fraud under
     both Federai and State Laws. Due to this fact, if any negative rnark is found on Clny or
     my credit reports by your company or the company that you represent i wil not hesitate
     in bringing legal action against you for the following:

     -Violation of the Fair Credit Reporting Act
     -Violation of the Fair Debt Collection Practices Act
     -Defamation of Character

     Also during this validation period, if any action is taken which could                                be considered
     detrimental to any of my credit reports, I wil consult with my legal counseL. This includes
     any information to a credit reporting repository that could be inaccurate or invalidated or
     verifying an account as accurate when in fact there is no provided proof that it is.

     Be advised that this letter is my/our formal dispute In this matter as well as our
     formal request for the Information requested; which wil provide melus clarity as to
     whom you claim to be.


                                                                              2
     Debt Validation Request Letter


                                                                                    '2-$
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      Your claim is now in dispute, and we expect you to act in good faith, and in
      accordance with the Fair Debt Collection Practices Act (which governs third-part debt
      collectors like yourself), and Fair Debt Credit Reporting Act, and postpone, cancel,
     andlor suspending any and all schedules foreclosing proceedings on the propert until
     this discrepancy is resolved with all rights reserved and without recourse. According to
     the Fair Debt Collection Practices Act (FDCPA) you are in violation of 15 USC 1692(e) §
     807(5).

     Please help me to understand, how my not making payments on the alleged debt
     injured you OCWEN LOAN SERVICING, LLC, when you are not a part to the alleged
     contract?

     This is an attempt to validate the alleged/purported debt and to correct records, and any
     information obtained wil be used for that purpose.

     Your failure to respond, as stipulated, is your tacit agreement with, and admission to the
     fact that everything in this letter, and any previous correspondence is true, correct,
     legal, i a'vvfu I , and is your irrevocable agreement attesting to this, fully binding upon you,
     in any court in America, without your protest or objection or that of those who represent
     you, or those whom you claim to represent.

     Should any infringement of Otha T. Wade guaranteed and secured rights and
     authorities occur on your part or by any part with whom you claim any affiliation with or
    who claims to have affliation with you, (he/she/the) wil scrutinize said infringements,
     and    any injury therefrom pursuant to USC Title 42§ 1983 and Title 18 § 241-242 at a
     minimum, and ,,Ai! proceed accordingly.

    Your failure to abide by the laws of Fair Debt Collection Practices Act, and the Fair Debt
     Reporting Act, Consumer Rights, and suspending all sales, as well as discontinuing all
    negative reporting to the homeowners credit report will be interpreted as your
    deliberaie, and wilful intent to continue to deprive the homeowner of peaceful
    enjoyment of his property, which violates his constitutionally protected rights, authorities
    and all aspects of due process of law.

    If your office has reported invalid information to one or all of the three major credit
    bureaus (Equifax, Experian, or TransUnion, this action might constitute fraud under both
    Federal and state laws. If      negative reporting is found on any of my credit reports by
    your company or the company which you claim to represent, I will bring legal action
    against you pursuant to the Fair Credit Reporting Act, and any other law which you are
    in violation of.

    Please be advised if you are the trustee, attorney acting on behalf of the debt collector
    regarding this alleged debt, and move forward with a sale regardless of your receipt of
    this notification, you will be held liable to the fullest extent of the law.



                                                    3
    Debt Validation Request Lettr
                                                                  2~~
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      I would also like to request, in writing, that no telephone contact be                                    made   by your offices
     to my home or to my place of employment. If your offces attempt telephone
     communication with me, including but not limited to computer generated calls or
     correspondence sent to any third parties, it wil be considered harassment and I will
     have no choice but to file suit. All future communications with me MUST be done in
     writing and sent to the address noted in this letter.

     I would also like to use this letter as a warning to you and your company that i may, and
     likely wil, use devices to track and/or record any further, future attempts by you or your
     company to contact me by phone. Please understand, all future phone calls made by or
     from your company, whether answered or unanswered, may be tracked and recorded. I
     may also use this information, if needed, to help prosecute you and your company to
     the fullest extent of the law.

     Thank you for your prompt attention. understanding, and cooperation regarding this
     matter.

     Should you ignore this letter and continue your collection efforts i will have no other
     choice but to forward a copy of this request to my local Congress person forward your
     fraudulent papers to the Federal Trade Commission, Attorney General, and the Postal
     Inspection Service for further scrutiny.

     You should be aware that sending unsubstantiated demands for payment through the
     United States Mail System might constitute                                    mail     fraud under the federal and state law.
     You may wish to consult with a competent legal advisor before your next
     communication with me.

     Thank you for your understanding, cooperation, and prompt attention to this matter.
     Please understand as this is being faxed to you. The fifteen day time clock begins
     immediately.

     If you are not the correct individual to deal with this you have a fiduciary responsibility to
     ensure that this is delivered to the proper individual or department immediately for
     resolution.

     This is an attempt to correct your records, any information obtained shall be used for
    . that purpose.


     cc: Federal Trade Commission                                                         Kamala Harris, California Attorney General
            600 Pennsylvania Avenue NW                                                    P.O. Box 944255
            Washington, DC 20580                                                          Sacramento, CA 94244-2550

            Government National Mortgage Association
            451 Seventh Street, SW
            Washington, DC 20410



     Debt Validation Request Lettr
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Case 5:14-cv-01343-UA-DUTY Document 1-1 Filed 07/01/14 Page 28 of 38 Page ID #:30




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  Instructions for Borrower                                                                                           Box 1. For a lender's acqulsllll)O of property that was securlly for a
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  fnr s loan or whQ have rM80l" to know that 60th pmprt has bee,.                                                     bents of owneship were transferred to the lender. This ",ay be the
  aliandoniK must pl''Jldtl yw \~Ilh Ihls sii:lonlimi, You may haliO                                                  del$ Qf (l fOI'r:osure Qt i:l(etIJt/lm Gille Qr the dilte your rJ(It of
  reportable income or loss because of such aCQuisition or                                                            redemption or objclln expired. For an abandonment, !he date shown
  abÐndonment. Gain or I05S from an IlCQuhiiton generally is mesure                                                   Is the date on which Ihe lender first knew or had reason to know thaI
  by Ile difference betweGl1 your adjusted baslaf" th propeiiy and the                                                the propey WáS abalidOled or the date of a foreclosure, eXQcullon, or
  amount of your debt canceed In exchnge for the pioprt, or, If                                                       similar sal9.
  greater, the sale proeeds. If you abandoned the propii, you may
  hav Income frò Ihe disclarge or iridebladiies In the amount of tha                                                  Box 2. Sliowa the debt (princIpal i)lY) owd to the lender on the loan
  unpaid balance or your canceled debt. You also may have a loss from                                                 when the interestIn Ihe propery was acquired by the lender or 00 thE!
  abandonmen up to the adjusted basis of the property at the time of                                                  date the lender fist knew Of had rea~on to kno lhatthe proPl'rty was
  abandonment. Losses on acquIsitions or abandonments of preJ1y                                                       abandoned.
  held for persóIel \'$$llre not dedocllble. See Pub. 4681 for
  InformaUori about foreclosures and abandonll9nts.                                                                   Box 4. Shows the faIr market yalue of Uie property. If the amount in
                                                                                                                      bOJ 4 is fess than the GmQunt in boll 2. and your debt l& canceled, you
       Property means any real property (suolas II peronal resklence);                                                may have ()i.mcelliili of detlnoome. If the pmpElrty was your main
  any Intangible propert; and iaiiglbte peronel property that 1$ held ror                                             home. sea Pub. tl23 to figure any tiible gain or ordinar Inoome.
  Iiwiii;tment or l,ed in a trade (lr bu&ln&&s.
                                                                                                                      Box 5. Shws whether you were persoMllY lleble for rep;)ymetlt of Iha
       II you borrowed money on thIs prelty with someone else, each of                                                debt when the debt was created or, If modifed. when" was last
  you shold refye this statemenl.                                                                                     modifie.

  ACCOUnt number.                 May show an llcont or other unIque number th                                        Box 6. Shows tha description of the propery acquire by the lender
  lelder i,ii;sìgnèd to dl&tnguish your account.                                                                      or abandoned by you, Ii "CCC"ls shown. lhe klmi Indloates the
                                                                                                                      amount of any Commodity Credit CorporatIon loan oufslandlng whan
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  Case 5:14-cv-01343-UA-DUTY Document 1-1 Filed 07/01/14 Page 31 of 38 Page ID #:33
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  Instructions for Borrower                                                                                                     BDX 1. For a lender's acai.lsillon Qf property Ihat was secunly for a
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  CertaIn lenders who acquire an Interest In property that was socunty                                                           lransfarred to theliini: or Iha data possession and the burdans and
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  allandoniltl must pl''/ldtl Yll wllh Ihls !l1~llllÐnt. '(ou may ltva                                                          dl)l$ (l' El fQl'elQ$l'r~ Qt ~l(lJtlQn G.lle (,r the døte YQiir rltiht of
  repoable income or loss because of such aCQuisilion or                                                                        redempllon or obJclln expired. For an abandonment, the date shown
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  greater, the sale proeeds. If you abandoned lIe proper, you may
  Iiav IncQrnø fro the dìi¡elarge of ìndel;ledneet; In the amount of lha                                                        Bòii 2. SlioW& Ih(i debt (pnnçlp~l C)ly) owd to tl1ft lander on the l¡)an
  unpaId balance of              your canceled debt. You also may have a loss from                                              when Ihe interest In Ihe propery was acquired by the lender or 01 the
  abandonmim up 10 the adjusted basIs of the property at the tIme of                                                            dale the lender first knew or had reason to khow thai thE! property waii
  abandonment. lOlles on acqulsillons or abandonments of properly                                                               abandoned.
  held for pelsOIall,stl are not deducllble. See Pub. 4681 for
  Informallo" about foreclosres and abandonllents.                                                                              Box 4. Shows lIe fair market value of the property. If the amount in
                                                                                                                                bOl 4 151M" than the Iilll,ht in box 2. and your debt Is canceled, you
      Property meBns any 16al property (suolas 6 personal residence);                                                           may have cancellaUo of det Income. If thè property was your main
  ElI\Y Intengible propery: and tangible pmoiisl property that 1$ held fQr                                                      home, see Pub. 523 10 figure Bny taxble gain or ordinmy Income.
  Invaslnlnt or I,sad in a IradQ Qr busin9!G.
                                                                                                                                Box 5. Shws whether you were pÐT60iiølly Ueble for rep.;yment of tha
     If you borrowed moll$Y on thIs prerty with someone el$Ø, each of                                                                                           If rnodlled, when II was last
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  you should re~fve this statement.                                                                                             modill.

  Account number. May show an accnt or other unIque number th                                                                   Box 6. Shows lIe description of the propery acquire by the lender
  lender assigned to dl&tngoiGh your account.                                                                                   or abandoned by you. If .eCG" Is shown, the fotm IndIcates the
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Case 5:14-cv-01343-UA-DUTY Document 1-1 Filed 07/01/14 Page 32 of 38 Page ID #:34




       1   GARY   GARCIA
           KRISTINA GARCIA
       2
           23850 HOLLINGSWORTH DR.
            M U R R lET T A, C A 92562
       3

           Plaintiff in Pro Se
       4


       5


       6


       7
                                         UNITED STATES DISTRICT COURT
       8                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
       9


      10   GARY GARCIA, an individual                      )       Case No.:
                    Plaintiff,                             )
      11                                                   ) SWORN DENIAL OF ALLEGED DEBT
                    vs.                                    ) WITH OCWEN LOAN SERVICING,
      12                                                   ) LLC.
           OCWEN LOAN SERVICES, LLC, a foreign             )
      13   limited liability company, and DOES I - 100     )
           inclusive                                       )
      14                   Defendant.                      )
                                                           )
      15                                                   )
                                                           )
      16                                                   )

      17   STATE OF: CALIFORNIA

      18
           COUNTY         OF:   K",v.er.s t d-e
      19

      20 I GAR Y GAR C I A, deny this is my debt, and if it is my debt, I deny that it is stil a valid debt,

      21 and if it is a valid debt, I deny the amount sued for is the correct amount.

      22   Date: c0 /; 201'2

      23

      24

      25
           GARY     GARCIA

           Printed Name
                                                                   ~    ignatur




                                                               1
                                                                     3\
                                           SWORN DENIAL OF ALLEGED DEBT
Case 5:14-cv-01343-UA-DUTY Document 1-1 Filed 07/01/14 Page 33 of 38 Page ID #:35




       1   STATE OF: CALIFORNIA
       2
           COUNTY OF: R \. V e. r- S " c\ ~
       3
           Subscribed and sworn to (or affrmed) before me on this ~ day of ~~ \ y ,20 \ "
       4
           by GA- G- Po rc i PI , proved to me on the basis of satisfactory evidnce to be th
           person(s) who appeared before me.
       5


       6


       7


       8
           ~~¡~,
           Notary Signature
                                                                                      (SEAL      HERE)


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                                                                        Notary"~_ COI1m. # 19613 72
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       9                                                         -: Riverside County ::
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                                                                                       21, 2015                ~
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      10

      11                                  CERTIFICATE OF SERVICE

      12

      13
                                                                            ~~.?
                                                                  J~ 1'1 I
           The undersigned attorney hereby certifies that on dt-e _,2014, a true and correct copy
      14

      15
            of SWORN DENIAL OF DEBT TO OCWEN LOAN SERVICING, LLC was personally

      16
              filed with the Clerk of the Court. The undersigned further certifies that a copy of this

      17
            document will be served on the parties in said action, by placing a true copy thereof in a

      18
              sealed envelope with postage thereon fully prepared in the United States addressed as

                                                      follows:
      19

      20
           OCWEN LOAN SERVICING, LLC
      21
           C/O CSC - Lawyers i ncorporate Services, Agent
           10 Universal City Plaza
      22
           Universal City, CA. 91608
      23

     24

     25



                                                         2 3 2_~
                                         SWORN DENIAL OF ALLEGED DEBT
                                  UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
           Case       5:14-cv-01343-UA-DUTY Document    CIVIL COVER SHEET 07/01/14 Page 34 of
                                                               1-1 Filed                                                                                 38 Page ID #:36
 i., (a..) PLAINTIFFS ( (.heck box.ifyou are r~resenting..YOUrSelf ~ DEFENDANTS (Check box if..u are represe. nting yo,urself 0 )
  c;À~.2.V  I\, C;'b.Q.jA. ,,,... ,,,"\5-,......
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   I .!b c~ "lcS '.,'1 - ~"i A. Co' L
 (b) County of Residence of First Listed Plaintiff Q\.va ii::'lO e. County of Residence of First Listed Defendant at"" ßaAiLl 6-'-'7
 (EXCEPT IN u.s. PLAINTIFF CASES) (IN u.s. PLAINTIFF CASES ONL YJ
 (c) Attorneys (Firm Name, Address and Telephone Number) If you are Attorneys (Firm Name, Address and Telephone Number) If you are
 representing yourself, provide the same information. representing yourself, provide the same information.




 II. BASIS OF JURISDICTION (Place an X in one box only.)                                       II. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                                     (Place an X in one box for plaintiff and one for defendant)
                                                                                                                                                                                       DEF
                                                                                                                                                                                       ¡: 4
 D 1. U.S. Government ~Federai Question (U.s.                                                  Citizen ofThis State ~Ll
                                                                                                                      1 DOEF 1 Incorporated
                                                                                                                        of Business  in thisor State
                                                                                                                                                Principal Place 0 4
    Plaintiff Government Not a Party)
                                                                                               Citizen of Another State 0 2 0 2 Incorporated and Principal Place 0 5 o 5
                                                                                                                                           of Business in Another State
                                                                                               Citizen or Subject of a
 D 2. U.s. Government                     D 4. Diversity (Indicate Citizenship                                            o 3 0 3 Foreign Nation                               o 6 0 6
    Defendant                                of Parties in Item III)                           Foreign Country

IV. ORIGIN (Place an X in one box only.)

 00 1. Proceeding
       Original D 2. State  Court
                      Removed from Appellate  Court
                                   D 3. Remanded from
                                                                                                 4Reopened
                                                                                                    R . District
                                                                                                           d 6.(Specify)
                                                                                                                   Multi-Litigation
                                                                                           D . einstate or 0 S. Tr~ns.ferred fr~m Another D District



V. REQUESTED IN COMPLAINT: JURY DEMAND: ~ Yes D No (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23: DYes D No D MONEY DEMANDED IN COMPLAINT: $ 75ò C.':J. t;t;
VI. CAUSE OF ACTION (Cite the U.s. Civil Statute under which you are fiing and write a brief statement of cause. Do not cite                       jurisdictional statute unless diversity.)

    \.5 Uf,c. \ ~C\L. ¡ I S USc. \ COe, j Q.Ó£'a.l '\\ÄL fic:\p \.\öLJ.-nulJ Ot= Ci'~Snln~
                                                                                                                                 '?~okc+\ vI\ L Â.'\
VII. NATURE OF SUIT (Place an X in one box only).


     375 False Claims Act
     400 State
     Reapportionment             D 120Marine
     410 Antitrust               D 130 Miller Act
     430 Banks and Banking
                                 o 140  Negotiable
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o 450 Commerce/ICC
   Rates/Etc.                            150 Recovery of
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D 460 Deportation
                                 o Overpayment &
                                         Enforcement of
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                                     Judgment                0   315 Airplane
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0 890 Other Statutory
  Actions
                                    Vet. Benefits
                                                             D   350 Motor Vehicle
                                                                                                                                                           O 871 IRS-Third Party 26 USC
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0 891 Agricultural Acts          o 160Suits
                                        Stockholders'
                                                            0    355 Motor Vehicle
                                                                 Product Liabilty
0 Matters
     893 Environmental
                                 o 190
                                            Other
                                     Contract               0    360 Other Personal
                                                                 Injury
                                                                                                 o 440 Other Civil Rights

                                                                                                 o 441 Voting               o 710
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o 895
    ActFreedom of Info.          o 195  Contract
                                     Product Liability      0    362 Personal
                                                                 Med Malpratice
                                                                                     Injury-
                                                                                                 D 442 Employment
                                                                                                                            o 720 Labor/Mgmt.
                                                                                                                               Relations
o 896 Arbitration
                                 o 196 Franchise            0    365 Personal
                                                                 Product Liability
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                                                                                                 O 443 Housing/
                                                                                                    Accommodations
                                                                                                                            o 740 Railway Labor Act
    899 Admin. Procedures                                        367 Health Carel                     445 American with
o AcVReview of Appeal of o 210 Land
   Agency Decision                   Condemnation           0    Pharmaceutical
                                                                 Personal   Injury
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                                                                                                      Employment            O 751 Family
                                                                                                                               Leave Act and Medical

                                 o 220 Foreclosure               Product Liabilty
                                                                 368 Asbestos
                                                                                                 O 446 American with
                                                                                                    Disabilities-Other      o 790  Other Labor
                                                                                                                               Litigation
    State Statutes
o 950 Constitutionality
                            of

                                 o 230  Rent Lease &
                                     E'ectment
                                                            0    Personal   Injury .
                                                                 Product Liabil                  D 448 Education            D 791
                                                                                                                               SewEmployee
                                                                                                                                   rity Act Ret. Inc.

FOR OFFICE USE ONLY:                          Case Number:
CV-71 (06/14)
                                                                                                                                                                            Page 1 of3
                                                                                                                              43
                                            UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
            Case 5:14-cv-01343-UA-DUTY Document   1-1 SHEET
                                           CIVIL COVER Filed 07/01/14 Page 35 of 38 Page ID #:37
VII. VENUE: Your answers to the questions below wil determine the division of the Court to which this case wil be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court? .+/
               DYes LK No
                                                    o Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                              Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the            o Orange                                                                                               Southern
corresponding division in response to
Question E, below, and continue from there.         o Riverside or San Bernardino                                                                           Eastern


QUESTION B: Is the United States, or B.l. Do 50% or more of the defendants who reside in                            YES. Your case wil initially be assigned to the Southern Division.
one of its agencies or employees, a the district reside in Orange Co.?
PLAINTIFF in this action?

               DYes fÈ No
                                                    check one of the boxes to the right   ..                   o Enter "Southern" in response to Question E, below, and continue
                                                                                                                    frorn there.


                                                                                                               o NO. Continue to Question B,2.

                                                    B.2. Do 50% or more of the defendants who reside in             YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question c. If "yes," answer      the district reside in Riverside and/or San Bernardino
                                                                                                               o Enter "Eastern" in response to Question E, below, and continue
Question B.1, at right.                             Counties? (Consider the two counties together.)                 from   there.


                                                    check one of the boxes to the right
                                                                                          ..                        NO. Your case wil initially be assigned to the Western Division.
                                                                                                               o Enter "Western" in response to Question E, below, and continue
                                                                                                                    from   there.


QUESTION C: Is the United States, or C.L. Do 50% or more of    the plaintiffs who reside in the                     YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a district reside in Orange Co.?
DEFENDANT in this action?

               DYes r& No
                                                    check one of the boxes to the right   ..                   o Enter "Southern" in response to Question E, below, and continue
                                                                                                                    from   there.

                                                                                                                o NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the         YES. Your case wil initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino
                                                                                                                o Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.

                                                                                          ..
                                                    Counties? (Consider the two counties together.)                 from   there.

                                                    check one of the boxes to the right                             NO. Your case wil initially be assigned to the Western Division.
                                                                                                                o Enter "Western" in response to Question E, below, and continue
                                                                                                                    from there.




Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)                                D                            00                             D
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)
                                                                                                               ~                            D                              D
                 0.1. Is there at least one answer in Column A?                                                0.2. Is there at least one answer in Column B?

                                    DYes 1) No                                                                                      W. Yes 0
                     If "yes," your case wil initially be assigned to the                                         If "yes:' your case wil initially be assigned to the

                                  SOUTHERN DIVISION.                                                                                EASTERN DIVISION.

     Enter "Southern" in response to Question E, below, and continue from there.                                  Enter "Eastern" in response to Question E, below.

                           If "no," go to question D2 to the right. ..                                       If "no," your case wil be assigned to the WESTERN DIVISION.

                                                                                                                 Enter "Western" in response to Question E, below.
                                                                                                                                                                                l

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

 CV-71 (06/14)                                                                      CIVIL COVER SHEET                                                                    Page2of3
....,"                             UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
              Case      5:14-cv-01343-UA-DUTY Document          1-1 SHEET
                                                         CIVIL COVER Filed 07/01/14 Page 36 of                                                      38 Page ID #:38
   IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                    ~NO                 DYES
           If yes, list case number(s):


   IX(b). RELATED CASES: Is this case related (as defined below) to any cases previously fied in this court?                                        iL NO              DYES
           If yes, list case number(s):


  Civil cases are related when they:


         o A. Arise from the same or closely related transactions, happening, or event;
         o B. Call for determination of the same or substantially related or similar questions of law and fact; or
         o C. For other reasons would entail substantial duplication of labor if heard by different judges.

         Check all boxes that apply. That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases
         related.

   X. SIGNATURE OF t\TTORNEY
                                                                                                                                          DATE: 74/2,-"),-1'
   (OR SELF-REPRESENTED L1TI ANT):
                                                          ~-=
                                                                                                                                                        i
   Notice to Counsel/Parties: The submissionof this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-7L and the information contained herein
   neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
   more detailed instructions, see separate instruction sheet (CV-07l A).




   Key to Statistical codes relating to Social Security Cases:


         Nature of Suit Code       Abbreviation                   Substantive Statement of Cause of Action
                                                       All claims for health insurance benefits (Medicare) under Title 18. Part A, of the Social Security Act, as amended. Also,
           861                        HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                       (42 U.s.c. 1935FF(b))

           862                        BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.s.c.
                                                       923)

                                                       All claims fied by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
           863                        DIWC
                                                       all claims filed for child's insurance benefits based on disabilty. (42 U.s.c. 405 (g))

                                                       All claims fied for widows or widowers insurance benefits based on disabilty under Title 2 of the Social Security Act, as
           863                        DIWW
                                                       amended. (42 U.s.c. 405 (g))

                                                       All claims for supplemental security income payments based upon disabilty filed under Title 16 of the Social Security Act, as
           864                        SSID
                                                       amended.

           865                        RSI              All claims for retirement (old age) and survivors benefits under   Title 2 ofthe   Social Security Act, as amended.
                                                       (42 U.s.c. 405 (g))




    CV-71 (06114)                                                                   CIVIL COVER SHEET                                                                    Page30f3
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           Case 5:14-cv-01343-UA-DUTY Document 1-1 Filed 07/01/14 Page 37 of 38 Page ID #:39
  . _ _,_N~~Q.R§S~4NR TILEPHONENUMBEROF-AORN(S)__ '_. _..__ __ ...._.. _,,' _. ______.. ..._ _ .. _ _" ._. _ _'_ _._____ _. ...._ ..... _ .. __ ..

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Cx~ \~(E.). LD.bl- SEQ,t ic.íi I L L~                                                        CERTIFICATION AN NOTICE
  (A t:c, re \ ~.. L \ "' i-t;) Li ,"- bi \ l-7 .c..P'''1                                      OF INTERESTED PARTIES
~~ t:\iS \ - \ 00 i L f" c.lvs \ vii Defendant(s)                                                    (Loca   Rule 7.1-1)
                                          1


       TO: THE COURT AN ALL                             PARTIES OF RECORD:

       The undersigned, counsel of recorri for
       or party appearing in 'pro per, certifes that the following listed par (or pares) may have a pecunary interest in
       the outcome of ths case. These representations are made to enable the Cour to evaluate possible disquafication
       orrecusal.

                      (List the names of al such pares and identi their connection and interest Use additional sheet if necessar.)

                                        PARTY                                         CONNCTION I INTEREST




                    7/; hc~/¿f
                Datri                                           L~
                                                                ¿C.. /
                                                                ~ Attorney of record for (or name of par appeang in pro per):




     CV-30 (05/13).                                             NOTICE OF INERED PARTIES
      Case 5:14-cv-01343-UA-DUTY Document 1-1 Filed 07/01/14 Page 38 of 38 Page ID #:40                                                                                   ,,:~..I,
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       AO 440 (Rev. 06/12) Sumons in a Civi Action
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                                                 UNITED STATES DISTRICT COURT                                                               , ;,
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                    OCWEN LOAN SERVICING, LLC V i 'l - 0 13 If,'

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0. Pc;-e.\('),,, L\(V".. i\c...b\\'~ (c"""F"'l) )
0.",) DOE:,S '\.- \ CX') I I ~ c.L.~~\vG: )
                                   Defendant(s) )
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                                                               SUMONS IN A CIV ACTION
                        , OCWEN LOAN SERVING. LLC
      To: (Defendant s name and address) C/O CSC _ LAWYERS INCORPORATED SERVICE, AGENT

                                                 10 UNIVERSAL CITY PLA
                                                 UNIVERSAL CITY, CA. 91608




                 A lawsuit has been fied against you.

                 With 21 days after service of              ths sumons on you (not counting the day you received it) - or 60 days if                       you
      are the United States or a United States agency, or an offcer or employee of                            the United States descrbed in Fed. R. Civ.
      P. 12 (a)(2) or (3) - you must serve on the plaitiff an answer to the attched complaint or a motion under Rule 12 of
      the Federal Rules of  Civil Proc~~%~ al~t!Äwer or motion must be served on the plaintiff or plaintiffs attorney,
      whose name and address are: KRISTINA GARCIA

                                                 23850 HOLLINGSWORTH DR.
                                                 MURRIETA. CA. 92562




             If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
      You also must fie your answer or motion with the cour.



                                                                                                     CLERK OF COURT


      Date:
                                                                                                                   Signature of Clerk or Deputy Clerk
